US. Departnisut of salle’ ECF No. 8, Page!D-° PROGEES RECEIPT AND RETURN

United States Marshals Servic * See Ins for “Service of Process by the U.S. Marshat"
on the reverse of this form

 

 

 

 

 

 

 

 

PLAINTIFF COURT c ASK NUMBE
UNITED STATES OF AMERICA 03-80810 -- bo 06 10840
DEFENDANT TYPE OF PROCESS. _
AHMAD MUSA JEBRITL and MUSA ABDULLAH JEBRIL PRELIMINARY ORDER OF FORFEITURE
SERVE NAMI OF INDIVIBUAL, COMPANY, CORPORATION, ETC. TO SERVI OR DESCRIPTION OF PROPERTY TQ S81TZE OR CONDEMN
AT ADDRESS (Street or ROD, Apartment No, City, State, and 27P Cade) :
SEND NOTICE OF SERVICE TO REQUESTER AT NAME AND ADDRESS BELOW: Number of process ta be tt
| served with this Form - 2&5
— ee ee ee wee eee ie ee . +
JULIE A. BECK Number of parties to be served
Assistant United States Atlomey | inthis case : at
211 W. Fort Street, Suite 2001 | 7 7
Detroit, Michigan 48226-3211 Check for service on ULS.A. =¢
| iL: tad

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE CUnelude Susiness and Alernate Address, All Telephone
Numbers, and Esitmated Times Available For Service)

Fost the real property located at 4702 PALMER, DEARBORN, MICHIGART pursul nt to thd a attacheffPrelim y Order of
Forfeiturc.

CATS ID No, 03-FBI-004277 MAR 15 2005

7
E
DE-FAOKE NUMBER DATE

(313) 226-9128 February 2, 2005

B15 (os

| herehy certify und return that I O have personally served, O have legal evidence of service, O have executed as shown in “Remarks, lhe process described on the
individdal, company, corporation, eic. af the address shawn above or on the individual, company, corporation, cte., shown at the address inserted below.

   
   

 

 

&@ PLAINTIFE
C1 EFENDANT

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

(acknowledge receipt tor the tolul Total Process District of Gvigin Distriet to Serve =| Signature of Authorized US)45 Deputy or Cl; ek
number of process indicated, ™

(Sige candy! fis USM 285 if mare than ‘

ane USA 285 is submitted) No... No. Nose . o a

 

 

 

 

 

 

 

 

i
O L hereby ecrtify and and retum thal. [act unable to locate the individual, company, corporation, ete., mimed above (See remarks below),

Name and title of individual served (if nat shown above). Oj A person of suifable age and diseretion ther 4
residing in the defendant's usual place of abode.

 

Address (complete only if different haa shown above) Wate eof LO 0 ¢ ‘Tine im

ge
Se

 

 

  
 

 

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Service Fee Total Mileage € hargos Forwarding Fee Total Charges Advance Deposits Amount ong] io OS Marshal or | Amyuni or Refund
(iicfuding ended pars)

  

 

 

 

 

 

 

 

REMARKS:

 

BR CRED TIONS MAY 1. CLERK OF THE COURT FORM USM 285 (Rev. 12/15/80)

 

 
